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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

JON PIERRE GENDRON,              §
      Plaintiff,                 §
                                 §
VS.                              §                           CIVIL ACTION NO. 7:15-cv-66
                                 §
SAFECO INSURANCE COMPANY         §
OF AMERICA AND GENERAL INSURANCE §
COMPANY OF AMERICA,              §
     Defendants.                 §

                                     NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       NOW COMES Safeco Insurance Company of America and General Insurance Company of

America, Defendants herein, and, pursuant to 28 U.S.C. § 1446(a), file their Notice of Removal of

the present cause from the County Court at Law No. Five (5) of Hidalgo County, Texas, in which

it is now pending, to the United States District Court for the Southern District of Texas, McAllen

Division, and in support thereof would respectfully show the following:

       1.      This lawsuit was filed on December 22, 2014, in the County Court at Law No. Five

(5) of Hidalgo County, Texas; bearing the style Jon Pierre Gendron v. Safeco Insurance Company

of America and the cause number CL-14-4595-E; Plaintiff subsequently amended his pleading on

February 10, 2015 to include General Insurance Company of America as a Defendant.

       2.      Defendants accepted service of Plaintiff’s First Amended Petition on February 10,

2015. Defendant Safeco Insurance Company of America had been served with Plaintiff’s Original

Petition on January 20, 2015. A true and correct copy of all process and pleadings in that cause and

the certified docket sheet are attached as Exhibits.

       3.      The Plaintiff seeks underinsured motorist benefits under a policy endorsed by
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Defendant General Insurance Company of America for injuries allegedly suffered in a motor vehicle

accident on February 19, 2010. Plaintiff alleges he has suffered damages in excess of the adverse

driver’s policy limits and is seeking monetary relief against Defendants in excess of $100,000.

        4.     Plaintiff is a citizen of the State of Texas. Defendants are corporations duly

incorporated in the State of Washington and with their principal place of business in the State of

Washington. See Exhibit H.

        5.     The parties are citizens of different states and, thus, diversity of citizenship exists.

Furthermore, as described above, the amount in controversy in this case exceeds $75,000.

Accordingly, the Court has original jurisdiction over the Plaintiff’s claims pursuant to 28 U.S.C. §

1332.

        6.      This Notice of Removal was timely filed within thirty (30) days from receipt by

Defendant Safeco Insurance Company of America of Plaintiff’s Original Petition, in accordance

with the provision of 28 U.S.C. § 1446(b).

        7.     Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this removal shall be

promptly provided to Plaintiff, through his counsel, following the filing of same. Further, a copy of

this Notice of Removal shall be promptly filed with the clerk of the state court from which this cause

was removed.

        8.     In accordance with the Local Rules for the United States District Court for the

Southern District of Texas governing removal of civil actions, the following is the Index of Exhibits

for this Notice of Removal:

               A.      Certified State Court Docket Sheet

               B.      Plaintiff’s Original Petition

               C.      Plaintiff’s First Amended Petition


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      D.    Defendants’ Original Answer

      E.    Return of Service

      F.    Defendants’ Waiver of Service

      G.    List of Parties and Counsel of Record

      H.    Affidavit of Barbara Spearman (re: Defendants’ Citizenship)

      I.    Civil Cover Sheet

                                          Respectfully submitted


                                          ________________________w/p
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                                          ATTORNEYS FOR DEFENDANTS




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                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the above and foregoing instrument was been served
upon counsel of record on February 12, 2015, as follows:

       Via Facsimile: (956) 969-9402
       Ivan F. Perez
       Juan M. Pequeno
       Jones, Galligan, Key & Lozano, LLP
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                                                     Ysmael D. Fonseca




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